                     Case 1:19-cr-00250-PB Document 109 Filed 05/26/21 Page 1 of 2




                    \ -●
       .D
     »iC


21    Zb Z'-


                                          i'l


                                                ^' Icrh ^ Ccx^i'                                                      )
                           V                                                    1 'i        '5
                           Z\0 (Vvy
               /av         ci^cJfuiV^ Oo                                 o        \; iq^&6G^50- i
                                                               l iA.     5                 Co      A
               Au
                           r i. i ^y-Cfg j y
                                         (-CftCi                   i ^                 11
                                                                                          iu
                                                                                                J
                                                                                                    T
                                                                                             C'vrx   i*^CarcA S” 3^1
           ,X                               Oi-a               'A \ \ ‘'"T- ‘               Cvpf^cz(              Dc^4.1 dc:-*'!'''

               mo' -C                           A/^
                                                          y     CAjc^-C'^y              Cx'^\k              i L-^'—^O           ^ d
                \\C^ (X                         (Oj^Y                  Cyf      M^y                                                dVXT'/i't
                '                  COX^'\^                     T         I'VA.v-c-       v'WJ       c^'=L--f oP                     /yy
               ioA                                                                                               Q-tHl^<^’ "\hr{
               'fxr'       /u^           cV}'^ f-c'ncU^vx^                        ) /--ec'ia         ^j-c                   c      i-'O

                                            oMw                    ^ll(%^(\                           /n ' i -f^
                    "IK                                                                c’3.»^                                      3
                                  drv IajX^'^ /ny                   ●e
           I                       Y^ 1^   i n 'p^i       ^
               K "3            i\A.*'c^ K-'"        "f"t^      V® u Vc^oj-
                                         c>/v ^ riOj>kci/' \^,   Jd
                A                                                  Cylo-^'                            \         O/O       OiX^
               aA'ViV                                 ■       c_-ltt>C£jLXS.             O.i.-'id         A'-

           i'A      ?eZL^                                                               Z                                   ? i'
                                                                                                                          3^:
                                                                                                                                   g»c3-^ I'Z
              \Wq^ll^ V'
                               f     \                l(o I'^Y
              Case 1:19-cr-00250-PB Document 109 Filed 05/26/21 Page 2 of 2
                                                   fviAN'''»-**^*=^TPP i\JH r i-<o


 5                 \                                         I'^IMT   ±     i    L.
                                                                                FORiV
                                                                                    U

M Ccxa/'-'v
VOvtr
                           Ub PbVvci GcurV
                            ClerK of couf-v
                           53
                           CoACCYA


                             03301                      <1                              I >1
